AO 245C (WDNC Rev. 5/11) Judgm ent in a Crim inal Case
sheet 1



                                                                   United States District Court
                                                              For The We ste rn District of North Carolina

UNITED STATES OF AMERICA                                                                                 AMENDED JUDGMENT IN A CRIMINAL CASE
                                                                                                (For Offenses Committed On or After November 1, 1987)
            V.
                                                                                                Case Number: DNCW 506CR000022-012
                                                                                                USM Number: 20820-058
JONATHON TERRELL PATTERSON
(Name of Defendant)


    File d Da te of Origina l Judgm e nt:            11/14/08                                       Marcia G. Shein

    (Or File d Da te of La st Am e nde d Judgm e nt)                                           Defendant’s Attorney

    Re a son for Am e ndm e nt:

    X   Correction of Sentence on Rem and (18 U.S.C. § 3742(f)(1) and (2))                       M odification of Supervision Conditions (18 U.S.C. §§ 3563© or
                                                                                               3583(e))

        Reducti on of Sentence for Changed Circum stances (Fed. R. Crim . P. 35(b))              M odifi cati on of Im posed T erm of Im prisonm ent fo r Extraordinary and
                                                                                               Com pelling Reasons (18 U.S.C. § 3582(c)(1))

        Correcti on of Sentence by Sentencing Court (Fed. R. Crim . P. 35(a))                    M odifi cati on of Im posed T erm of Im prisonm ent fo r Retroacti ve
                                                                                               Am endm ent(s) to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

        Correction of Sentence for Clerical M istake (Fed. R. Crim . P. 36)                       Direct M otion to District Court Pursuant

                                                                                                           28 U.S.C. § 2255      Or       18 U.S.C. § 3559(c)(7)

                                                                                                  M odification of Restitution Order 18 U.S.C. § 3664


ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

T HE DEFENDANT :

            pleaded guilty to count(s) 1.
            Pleaded nolo contendere to count(s) which was accepted by the court.
X           Was found guilty on count(s) afte r a plea of not guilty.


                                                                                                                       Date Offense
    T itle and Section                    Nature of Offense                                                            Concluded                                   Counts

    21:846 & 851                          Conspiracy to possess with intent to distribute, a quantity of               4/26/06                                     1
                                          cocaine and cocaine base, Sch. II controlled substances



         T he Defendant i s sentenced as provided in pages 2 through 6 of th is judgm ent. T he sentence is im posed pursuant to the Sentencing Reform Act of 1984 reference
to Booker, and 128 U.S.C. 3553(a).

            T he Defendant has been found not guilty on count(s) .
            Count(s) (is)(are) dism issed on the m otion of the United States.

           IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any change of nam e, residence, or m ailing address until
all fines, restitution, costs, and special assessm ents im posed by this judgm ent are fully paid. If ordered to pay m onetary penalties, the defendant shall notify the court and
United States attorney of any m aterial change in the defendant’s econom ic circum stances.

                                                 Date of Im position of Sentence / Date Court Ordered Am endm ent:       February 6, 2012




                                                                                                                    Signed: February 10, 2012




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                                                                IMPRISONMENT

     The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of TW O
HUNDRED FORTY (240) MONTHS.

JUDGMENT IS OTHERW ISE RECONFIRMED IN ALL RESPECTS EXCEPT FOR CHANGES IN THE TERM OF IMPRISONMENT AND
TERM OF SUPERVISED RELEASE.

X       The Court makes the following recommendations to the Bureau of Prisons:

        That defendant be designated to a facility in or close to North Carolina.

X       The Defendant is remanded to the custody of the United States Marshal.

        The Defendant shall surrender to the United States Marshal for this District:

                         As notified by the United States Marshal.

                          At___a.m. / p.m. on ___.

        The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                         As notified by the United States Marshal.

                          Before 2 p.m. on ___.

                         As notified by the Probation Office.

                                                                     RETURN

        I have executed this Judgment as follows:




      Defendant delivered on __________ to _______________________________________ at
________________________________________, with a certified copy of this Judgment.




___________________________________________
          United States Marshal


                                                                                    By: _______________________________________
                                                                                                     Deputy Marshal




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                                                                           SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supervised release for a term of FIVE (5) YEARS.

        The condition for mandatory drug testing is suspended based on the court’s determination that the defendant poses a low risk of
        future substance abuse.

                                                            STANDARD CONDITIONS OF SUPERVISION

        T he defendant shall com ply with the standard conditions that have been adopted by this court and any additional conditions ordered.

1.      T he defendant shall not com m it another federal, state, or local crim e.
2.      T he defendant shall refrain from possessing a fi rearm , destructi ve device, or other dangerous weapon.
3.      T he defendant shall pay any financial obligation im posed by this judgm ent rem aining unpaid as of the com m encem ent of the sentence of probation or the term of
        supervised release on a schedule to be established by the Court.
4.      T he defendant shall provide access to any personal or business financial inform ation as requested by the probation officer.
5.      T he defendant shall not acquire any new lines of credit unless authorized to do so in advance by the probation officer.
6.      T he defendant shall not leave the Western District of North Carolina without the perm ission of the Court or probation officer.
7.      T he defendant shall report to the probation officer in a m anner and frequency directed by the court or probation officer.
8.      A defendant on supervised release shall report in person to the probation officer in the district to which he or she is released within 72 hours of release from
        custody of the Bureau of Prisons.
9.      T he defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
10.     T he defendant shall support his or her dependents and m eet other fam ily responsibilities.
11.     T he defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other activities authorized by the
        probation officer.
12.     T he defendant shall notify the probation officer within 72 hours of any change in residence or em ploym ent.
13.     T he defendant shall refrain from excessive use of alcohol and shall not unlawfully purchase, possess, use, distribute or adm inister any narcotic or other controlled
        substance, or any paraphernalia related to such substances, except as duly prescribed by a licensed physician.
14.     T he defendant shall participate in a program of testing and treatm ent or both for substance abuse if directed to do so by the probation officer, until such tim e as the
        defendant is released from the program by the probation officer; provided, however, that defendant shall subm it to a drug test within 15 days of release on
        probation or supervised release and at least two periodic drug tests thereafter for use of any controlled substance, subject to the provisions of 18:3563(a)(5) or
        18:3583(d), respectively; T he defendant shall refrain from obstructing or attem pting to obstruct or tam per, in any fashion, with the efficiency and accuracy of any
        prohibited substance testing or m onitoring which is (are) required as a condition of supervision.
15.     T he defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or adm inistered.
16.     T he defendant shall not associate with any persons engaged in crim inal activity, and shall not associate with any person convicted of a felony unless granted
        perm ission to do so by the probation officer.
17.     T he defendant shall subm it his person, residence, offi ce, vehicle and/or any com puter system including com puter data storage m edia, or any electronic device
        capable of storing, retrieving, and/or accessing data to which they have access or control, to a search, from ti m e to ti m e, conducted by any U.S. Probati on Offi cer
        and such other law enforcem ent personnel as the probation officer m ay deem advisable, without a warrant. T he defendant shall warn other residents or occupants
        that such prem ises or vehicle m ay be subject to searches pursuant to this condition.
18.     T he defendant shall perm it a probation officer to visit him or her at any tim e at hom e or elsewhere and shall perm it confiscation of any contraband observed by the
        probation officer.
19.     T he defendant shall notify the probation officer within 72 hours of defendant’s being arrested or questioned by a law enforcem ent officer.
20.     T he defendant shall not enter into any agreem ent to act as an inform er or a special agent of a law enforcem ent agency without the perm ission of the Court.
21.     As directed by the probati on offi cer, th e defendant shall noti fy th ird parti es of risks that m ay be occasioned by the defendant’s crim inal record or personal history or
        characteristics, and shall perm it the probation officer to m ake such notifications and to confirm the defendant’s com pliance with such notification requirem ent.
22.     If the instant offe nse was com m itte d on or afte r 4/24/96, th e defendant shall noti fy th e probati on offi cer of any m aterial changes in defendant’s econom ic
        circum stances which m ay affe ct th e defendant’s ability to pay any m onetary penalty.
23.     If hom e confinem ent (hom e detention, hom e incarceration or curfew) is included you m ay be required to pay all or part of the cost of the electronic m onitoring or
        other location verification system program based upon your ability to pay as determ ined by the probation officer.
24.     T he defendant shall cooperate in the collection of DNA as directed by the probation officer.

ADDIT IONAL CONDIT IONS:




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                                                         CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the Schedule of Payments.


                 ASSESSMENT                                            FINE                                     RESTITUTION

                     $100.00                                          $0.00                                          $0.00

        ASSESSMENT HAS BEEN PAID IN FULL
                                                                         FINE


         The defendant shall pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is paid in full before
the fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the Schedule of Payments may
be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

X            The court has determined that the defendant does not have the ability to pay interest and it is ordered that:

X            The interest requirement is waived.

             The interest requirement is modified as follows:


                                                         COURT APPOINTED COUNSEL FEES

             The defendant shall pay court appointed counsel fees.

             The defendant shall pay $                   towards court appointed fees.




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                                                                  SCHEDULE OF PAYMENTS


Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

        A     X          Lump sum payment of $           100.00   due immediately, balance due

                         not later than      , or
                         in accordance         ©,         (D) below; or

        B                Payment to begin immediately (may be combined with                ©,        (D) below); or

        C                Payment in equal              (e.g. weekly, monthly, quarterly) installments of $               to commence                  (e.g
                         30 or 60 days) after the date of this judgment; or

        D                Payment in equal               (e.g. weekly, monthly, quarterly) installments of $         to commence              (e.g
                         30 or 60 days) after release from imprisonment to a term of supervision. In the event the entire amount of criminal
                         monetary penalties imposed is not paid prior to the commencement of supervision, the U.S. Probation Officer shall
                         pursue collection of the amount due, and may request the court to establish or modify a payment schedule if
                         appropriate 18 U.S.C. § 3572.


Special instructions regarding the payment of criminal monetary penalties:

        The defendant shall pay the cost of prosecution.
        The defendant shall pay the following court costs:
        The defendant shall forfeit the defendant’s interest in the following property to the United States:


Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of imprisonment
payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary penalty payments are to be
made to the United States District Court Clerk, 200 W est Broad Street, Room 100, Statesville, NC 28677, except those payments made
through the Bureau of Prisons’ Inmate Financial Responsibility Program. All criminal monetary penalty payments are to be made as
directed by the court.




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.




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                                                         STATEMENT OF ACKNOW LEDGMENT

I understand that my term of supervision is for a period of _______months, commencing on ____________________ .

Upon a finding of a violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term
of supervision, and/or (3) modify the conditions of supervision.

I understand that revocation of probation and supervised release is mandatory for possession of a controlled substance, possession of a
firearm and/or refusal to comply with drug testing.

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.




(Signed)      ____________________________________            Date: _________________
                Defendant

(Signed)      ____________________________________ Date: _________________
                U.S. Probation Office/Designated W itness




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